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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )              8:05CR267
                        Plaintiff,                       )
                                                         )
         vs.                                             )                 ORDER
                                                         )
JULIO C. SOTO,                                           )
EDGAR ZAVALA-LOPEZ and                                   )
ALFREDO RODRIGUEZ, JR.,                                  )
                                                         )
                        Defendants.                      )
         This matter is before the court on the motion to continue by defendant Julio C. Soto (Soto)
(Filing No. 29) and the motion to expand time by defendant Alfredo Rodriguez, Jr. (Rodriguez) (Filing
No. 28). Both defendants seek an extension of the time in which to file pretrial motions in accordance
with the progression order (Filing No. 11). Defendants' counsel represent that counsel for the
government has no objection to the motion. Contingent upon each defendant filing within seven
days an affidavit in accordance with paragraph 9 of the progression order whereby he consents to
the motion and acknowledges he understands the additional time may be excludable time for the
purposes of the Speedy Trial Act, the motions will be granted.
         IT IS ORDERED:
         1.     Soto's and Rodriguez's motions for additional time in which to file pretrial motions (Filing
Nos. 28 and 29) are granted.
         2.     Defendants are given until on or before September 14, 2005, in which to file pretrial
motions pursuant to the progression order (Filing No. 11). The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between August 16,
2005 and September 15, 2005, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty
and complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).
         3.     The tentative setting of an evidentiary hearing for 1:30 p.m. on August 22, 2005, is
canceled and will be re-scheduled in the event any pretrial motions are filed in accordance with this
order.
         DATED this 16th day of August, 2005.
                                                         BY THE COURT:
                                                         s/Thomas D. Thalken
                                                         United States Magistrate Judge
